        Case 3:17-cv-02162-EMC Document 442 Filed 08/27/24 Page 1 of 1




August 27, 2024

Hon. Edward M. Chen
U.S. District Court, Northern District of California
450 Golden Gate Avenue
San Francisco, CA 94102

Re:    Food & Water Watch v. EPA, Case No. 17-cv-02162-EMC

Dear Judge Chen:

       We write in response to the Court’s August 22, 2024, Order inviting the parties to submit
a joint letter identifying whether the National Toxicology Program’s recently published
Monograph on the State of the Science Concerning Fluoride Exposure and Neurodevelopment and
Cognition: A Systematic Review (“published Monograph”) is meaningfully different from the pre-
publication version the Court reviewed at trial.

       The parties agree that there are no material differences between the published Monograph
and the pre-publication version that was the subject of testimony and argument at trial (i.e.,
Exhibit 67).

                                           Respectfully,

 /s/ Michael Connett                               /s/ Brandon N. Adkins
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